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          EXHIBIT 41
Rikers inmate steals log book to complain about lack of guards            https://nypost.com/2021/07/26/rikers-inmate-steals-log-book-to-compla...
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                                                                                                                           LOG IN

           RECOMMENDED

                             Supreme Court denies                            Dayton woman killed by                             British c
                             Scientology’s bid to                            nail on birthday trip to                           kidnapp
                             ban Danny Masterso…                             Fort Myers during…                                 fed to cr




            By Gabrielle Fonrouge                                                               July 26, 2021    6:01pm     Updated




            Union heads said triple shifts and unmanned posts are a regular occurrence.
            Chad Rachman/New York Post


                                                                 Rikers Island inmates are looking for guards in all the
                                                                 wrong places.

                                                                 A desperate inmate stole an official log book over the
                                                                 weekend and instead of it being filled with a correction
                 New images shed more light on                   officer’s shift notes, he logged it with his own observations
                 stomach-turning conditions at
                 Rikers Island                                   as the jail grapples with a staffing crunch that has left


2 of 12                                                                                                                       10/4/2022, 5:22 PM
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                                                                 residents unsupervised for hours on end, The Post has
                                                                 learned.                                         LOG IN
               Two NYC correction officers
               admit to smuggling in drugs for
           RECOMMENDED
               bribes
                                                                 “No officer on post. No fan on post. This is outrageous.
                          Supreme Court denies                               Dayton woman killed by                              British c
                          Scientology’s bid to                   Something needs
                                                                           nail onto be done.
                                                                                   birthday tripNow!”
                                                                                                 to   the prisoner’s firstkidnapp
               Rikers Island inmate killed self
                          ban Danny Masterso…                    entry in the book, signed
                                                                              Fort Myers   “inmate,” states at the top of the
                                                                                         during…                           fed to cr
               with razor after captain ignored
               protocol: source                                  page.


                 Riding out of Rikers: NYC                       “At this time I cannot sleep and it is someone’s birthday
                 Correction officers fleeing in                  today. Still no fan after 3 weeks. I have survived 5 heat
                 droves
                                                                 waves and 1 heat stroke so far. Apparently there are no
                                                                 working units in the building and I find this hard to believe,
                                                                 very very hard,” the notes read.

            The log book was stolen at one of the jail’s housing areas on Saturday when at least 150 officers were
            working triple shifts, approximately 50 posts were left unmanned and two female guards were sexually
            assaulted, according to Benny Boscio, the president of the Correction Officers’ Benevolent Association
            union, and internal records.

            “The inmates have taken advantage of our staffing crisis by stealing log books, leaving their cells, and
            even worse, sexually assaulting our female officers with impunity,” Boscio railed.




            A Rikers Island inmate allegedly stole a log book and made entries


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            A Rikers Island inmate allegedly stole a log book and made entries.

                                                                                                          LOG IN
            “When is Mayor de Blasio going to come to Rikers and see for himself the ticking time bomb that his
            mismanagement
           RECOMMENDED           has created? How many more COs have to be assaulted and how many more
            mishaps haveSupreme
                        to happen before
                                Court    he restores law and order
                                      denies                       in ourwoman
                                                                 Dayton  jails?” he  asked.
                                                                                 killed by                 British c
                        Scientology’s bid to                          nail on birthday trip to             kidnapp
                        ban  Danny  Masterso…                         Fort Myers   during…
            A spokesperson for de Blasio didn’t return a request for comment but the lame-duck mayor noted fed to cr
            earlier this month there are “real issues” at the DOC that need “to be addressed.”

            Prior to the COVID-19 pandemic, triple shifts were a “rare occurrence” that were only seen during
            extreme weather events and while there are hundreds of officer posts dotted around the sprawling jail
            complex, any station that’s left unmanned is a problem, union officials said.

            “The reality is, every post should be manned at all times, having one or two or three unmanned posts is
            a problem. Having over 50 is a crisis,” Boscio told The Post.

            “Right now, the inmates are running the jails,” added Patrick Ferraiuolo, the president of the Correction
            Captains’ Association.

            “The public has to know about this and the mayor’s office has to be put on notice. If he doesn’t do
            anything really soon, something really serious is going to happen.”

            The union heads said this wasn’t just a bad
            weekend — triple shifts and unmanned posts are
            now a regular occurrence after more than 1,000
            correction officers resigned and 200 captains were
            promoted over the last two years with no new
            classes to fill the gaps.

            Ferraiuolo explained part of the problem is, small
            groups of inmates are being spread across the
            sprawling complex in housing areas that can fit
            many more charges, making it difficult to patrol every
            nook and cranny with a reduced staff.

            Amid the chaos, the inmate made about a half
            dozen entries in the book between 1 a.m. and 4 a.m.
            Saturday night and detailed a series of complaints
            and issues the charges were facing.

            At 1:15 a.m., the dutiful inmate noted there were “14
            live breathing bodies” in the housing area and one
            appeared to be “dying from heat stroke.”

            “Still no officer on post Still no fan on post       no         A Rikers Island inmate made entries in the log book


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Rikers inmate steals log book to complain about lack of guards        https://nypost.com/2021/07/26/rikers-inmate-steals-log-book-to-compla...
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             Still no officer on post. Still no fan on post… no         A Rikers Island inmate made entries in the log book
            fresh air in 2 months. Still no tables. Still no black      with his own observations amid a staffing crunch.
                                                                                                                    LOG IN
            ops 2. Still no commissary. Out of stock… everything
           RECOMMENDED
            out of stock. Inmate denied visit and still no barber shop. No programs at this time.”
                          Supreme Court denies                       Dayton woman killed by                     British c
                          Scientology’s  bid to                      nail on birthday trip to
            Fifteen minutes later at 1:30 a.m., the inmate lamented there was “Still no CO on post” and “1 dead kidnapp
                          ban Danny Masterso…                        Fort Myers during…                         fed to cr
            body” in the housing area.

            “Still no mail and no mental health. Called 614 for clinic and didnt go. Called 311 for fans and still no
            f–king fan,” the log reads.

            Another quarter of an hour later, the log stated the “dead body” had been “removed.”

            Peter Thorne, the Deputy Commissioner of Public Information with the DOC, said the inmate’s note
            about the dead body was false — no one died in custody over the weekend.

            However, Ferraiuolo noted during a similar situation last month at the Anna M. Kross Center, an inmate
            did die from an apparent drug overdose when a housing area was left unsupervised.

            The DOC did not dispute this and only said they do not determine the cause of fatalities that occur in
            custody. The DOC didn’t comment on the logbook, saying the matter was under investigation, but did
            blame the staffing crisis on people not reporting to work. The agency said there were nearly 2,800
            AWOLs in June, a 300 percent increase from the previous year, and 1,604 sick absences out of about
            7,600 COs — a 129 percent uptick from last year.

            “For months, we have been experiencing interruptions of services for people in custody due to our
            ongoing staffing issues, which have been largely fueled by staff calling in sick or being AWOL. This
            month, we announced a comprehensive plan to address these issues, and we are moving ahead with
            that plan,” Thorne said.

            “Anyone who is able to report to work should do so, because not doing so is unfair to those who are
            showing up to work, and it’s unfair to the people entrusted to our care.”

            The DOC shared plans to address the staffing crisis, which includes an end to triple shifts “as quickly as
            possible,” a new recruit class by Fall 2021 and taxis home for those working three tours in a row.

            Around 2:30 a.m. on Saturday, the inmate wrapped up his entries by complaining there is “No TV or
            PS4 remotes. Still no f–king cheese. Still no doritos.” He then referenced two people who he wants out
            from behind bars. “Free Speedy Free JK aka JayQue,” the entry states.

            The final log, apparently made later that day around 1:51 p.m., states there was “still no officer on the
            floor.”

            “All inmates are stressed… No officer for 2 days,” the log states.



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